                       Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 1 of 19



             1    Braddock J. Huesman
                  F#00367
             2    Assistant Attorney General
             3
                  Hon. Juan A. Sablan Memorial Bldg., 2nd F1.
                  Caller Box 10007, Capital Hill
                                                                                             -
                                                                                        OCF F 6"Qfi3
             4    Saipan, MP 96950-890'7
                  Telephone: (670) 664-2341
             5    Fax:           (670) 664-2349
             6    Attorney for Defendants Matthew T. Gregory, Gregory
                  Baka, Anthony Welch and Tom Schweiger.
             7
             8
             9                                IN THE UNITED STATES DISTRICT COURT
             10                               FOR THE NORTHERN MARIANA ISLANDS
             11
             12 RANDALL T. FENNELL,                                CIVIL ACTION NO. 09-00 19
             13                  Plaintiff,
             14
                                         vs.
             15                                                    NOTICE OF APPEAL
                MATTHEW T. GREGORY, former
             16 Attorney General, GREGORY BAKA,
             17 Acting Attorney General, ANTHONY
                WELCH, Assistant Attorney General,
             18 TOM J. SCHWEIGER, Assistant Attorney
                General, and DOES 1-20, in their official
             19 and individual capacities,
             20                  Defendants.
             21
             22
             23                                       NOTICE OF APPEAL
             24          Notice is given that Matthew T. Gregory, Gregory Baka, Anthony Welch, and
             25
                  Tom J. Schweiger, who are all the defendants named in the above-captioned case, appeal to the
             26
                  United States Court of Appeals for the Ninth Circuit from the partial denial of their Motion to
             27
             28   Dismiss. The Court, on. September 28,2009, entered its Order Granting In Part and Denying In

LN576564vl
                                                                  -1-
                       Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 2 of 19



              1   Part Defendants’ Motion to Dismiss. Defendants appeal the Order as it pertains to Qualified
             2    Immunity.
             3
             4
                                                                        Respectfully submitted
             5                                                          October 9,2009
                                                                        OFFICE OF THE ATTORNEY GENERAL
             6
             7
              8
             9
             10                                      CERTIFICATE OF SERVICE
             11         Pursuant to Federal Rule of Appellate Procedure 25(d) and Federal Rules of Civil
                  Procedure 4(c)(2) and 51(b)& (d), the undersigned states as follows:
             12
                         1.     I am eighteen years of age or older, and I certify that I caused to be served the
             13   following documents to the last know address(es) listed below on Friday, October 9,2009
             14                 Notice of Appeal
                                Civil Appeals Docketing Statement
             15                 Order Granting in Part and Denying in Part Defendants’ Motion to Dismiss

             16          2.     As set forth below, this service was accomplished by personal delivery on:
             17                 Mark Hanson
                                Attorney at Law
             18                 PMB 7313, PO Box 10000,
                                Saipan, PldP 96950
             19                 (670) 23:3-8600,                                      P




             20
             21
             22

             23
             24
             25
             26

             27

             28

LN576564vl
                                                                  -2-
                          Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 3 of 19
                       Case 1:09-cv-0001!3  Document 34  Filed 09/28/2009 Page 1 of 17
                                                                                    FiLE!b
                                                                                        Clerk
                                                                                    District Coud



                1

                2

                3

                4

                5

                6

                7                     IN T H E UNITED STATES DISTRICT COURT
                8
                                         FOR THE NORTHERN MANANA ISLANDS
                9

               10

               11   KINDALL T. FENNELL,                     )      C i d Action No. 09-0019
               12                                           1
                                         Plaintiff          1
               13                                           )      ORDER DENYING IN PART
               14
                                    V.                      )      AND GRANTING IN PART
                                                            )      DEFENDANTS’ MOTION
               15   MATTHEN’ T. GREGORY, et a l ,           1      TO DISMISS FOR FAILURE
                                                            )      ‘1’0S’I’ATE A CLAIM, WTH
               16
                                         Defendants         1      LEAVE TO AMEND
               17
                                                            1
               18
                          THIS MATTER came before the court on Thursday, September 10,2009, for
               19
                    hearing of defendants’ Federal Rules of C i d Procedure 12@)(6) motion to dismiss
               20

               21   for failure to state a claim. Plaintiff appeared by and through his counsel, Mark B.
               22
                    Hanson; named Commonwealth defendants appeared by and through their counsel,
               23
                    Commonwealth Assistant Attorney General Braddock J. Huesman.
               24

               25

               26


A 0 72
(Rev. 08/82)
                         Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 4 of 19
                       Case 1:09-cv-00019  Document 34  Filed 09/28/2009 Page 2 of 17




                1          THE COURT, having considered the written and oral arguments of counsel,
                2
                    grants in part and denies in part the motion to dismiss.'
                3

                4
                           On July 31,2009, Commonwealth defendants moved to dismiss plaintiffs

                5   entire complaint for failure to state a claim. Fed.R.Civ.P. 12(b)(6). Secondarily, they
                6
                    argue that defendants #Gregoryand Baka are absolutely immune from suit and that the
                7

                a   other Commonwealth Assistant Attorneys General are entitled to qualified immunity.

                9          O n a motion to dismiss, the court must accept as true all allegations in the
               10
                    complaint and construe them in the light most favorable to the non-moving party.
               11

               12
                    Roe v. Czg ofJan Dzego, 356 F.3d 1108,1112 (gth Cir. 2004). Generally, the court's

               13   review is limited to the contents of the complaint and any exhibits attached to it. Van
               14
                    Bu.skzrk v. Cable News PJetwork, Inc., 284 F.3d 977,980 (gthCir. 2002).2 Where, as here,
               15

               16           I

               17          Complicating thLe instant motion is the fact that a civil lawsuit was filed in the
                    Commonwealth Superior Court several years ago which at least peripherally and
               18
                    perhaps integrally invollve some of the issues raised in t h s lawsuit. Ths court is
               19   aware of its obligations to honor the jurisdiction of the Commonwealth Superior
                    Court and to attempt to avoid the possibhty of inconsistent findings or judgments.
               20
                    However, all parties to t h s action agree that motions have been pending in the
               21   Superior Court for more than four years and that absolutely nothing has been done
                    for more than a year b y the off-island judge to whom the case has been assigned,
               22
                    despite the pleas of au'parties for rulings on the pending motions and a status
               23   conference. Given these circumstances, and the fact that the parties are present
                    before t h s court and actively pursuing and defending, the court will proceed, as a
               24
                    matter of due process.
               25           2


               26
                          Pursuant to Fed.R.Civ.P. 12(d), if the court considers extrinsic matters outside
                    the complaint, it must treat the motion as a motion for summary judgment under
A 0 72
(Rev. 08/82)                                                     2
                                                                     I
                          Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 5 of 19
                       Case 1:09-cv-O0019   Document 34  Filed 09/28/2009 Page 3 of 17




                1   the complaint alleges violation of plaintiffs civd rights, vague and conclusory
                2
                    allegations are insufficient to withstand a motion to dismiss. I Z Iu.~Bd. $Regents   of
                3

                4
                    UnzV. ofAlaska, 673 F.2d 266,268 (Yh Cir. 1982). Dismissal of the complaint is

                5   appropriate only if “it appears beyond doubt that the plaintiff can prove no set of
                6
                    facts in support of the claim which would entitle plaintiff to relief.” Conly v. Gibson,
                7

                8
                    355 US.41,45-46 (1957); No. 84 Eqliyer-TeamsterJt          Council v. American West

                9   Holding Cop., 320 F.3d 920, 931 (9* Cir.), cert. denied, 124 S.Ct. 433 (2003).
               10
                                                      The Claims for Relief
               11

               12
                           Plaintiffs June 3 2,2009, complaint alleges four claims for relief. The first is

               13   brought pursuant to 42! U.S.C. $1983 and accuses defendants of depriving hrm of the
               14
                    constitutional rights guaranteed under the First, Fifth, and Fourteenth Amendments
               15
                    of the U S . Constitution. The second claim alleges a conspiracy against him by all
               16

               17   defendants to obstruct the course of justice, in violation of 42 U.S.C. 5 1985(2),
               18
                    thereby violating the same constitutional rights. The third claim is brought pursuant
               19
                    to 42 U.S.C. $ 1985(3) and alleges that the defendants conspired against plaintiff to
               20

               21   deprive him of the constitutional rights afforded h m by the First, Fifth, and
               22
                    Fourteenth Amendments. The last claim for relief alleges a violation of 42 U.S.C.
               23

               24
                    5 1986; specifically, that the named defendants knew of the conspiracy to deprive
               25

               26
                    Fed.R.Civ.P. 56. In decidmg t h s motion, the court has not considered extrinsic
                    matters.
A 0 72
(Rev. 08/82)                                                    3
                         Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 6 of 19
                       Case 1:09-cv-O0019       Document 34          Filed 09/28/2009   Page 4 of 17




                    plaintiff of his constitutional rights and did nothmg to prevent or aid in the

                    prevention of the deprivation,

                1
                                               The Facts Alleged in the Complaint

                !          According to plaintiff, his claims arise out of his duties as the Commonwealth
                f
                    Superior Court-appointed temporary receiver, begnning in 2002, in a case involving
                I


                t
                    the Bank of Saipan. Comphint, 77 20-24. He alleges that both the Commonwealth

                E   Attorney General’s Office and the Secretary of Commerce approached           him and asked
               IC
                    h m to act as receiver, due to his previous experience as receiver in a prior bank
               11

               li
                    receivershp. Id., 7 21. Plaintiff alleges that his investigation into the activities of the

               12   Bank, its attorneys, and its directors and shareholders and their various company
               14
                    attorneys, uncovered a labyrinthme scheme to perpetrate a fraud to enrich themselves
               15
                    at the expense of ordinary shareholders and depositors of the Bank. Id., 77 20-41.
               16

               17   During the relevant time period, Benign0 Fitial (later elected Governor of the
               18
                    Commonwealth, the position he still holds) was Acting President, Chief Executive
               19
                    Officer, and Chairman of the Bank’s Board of Directors. Id, 7 30. Fitial was also
               20

               21   employed at the same time by the Tan Group, whch was a major shareholder of the
               22
                    Bank. I d , 7 32. Defendant Gregory (later Commonwealth Attorney General) was
               23
                    attorney for the Tan Group and also attorney for the Marianas Public Land Authority
               24

               25   (“MPLA”), a Commonwealth agency. Id, 7 33-34.
               26
                          Up to that point in time, plaintiff alleges that he had been “worhng closely
A 0 72
(Rev. 08/82)                                                     4
                          Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 7 of 19
                       Case 1:09-cv-O0019   Document 34  Filed 09/28/2009 Page 5 of 17




                1   with the Attorney General and various attorneys from that office[.]” Id., fi 27.
                2
                    However, plaintiff alleges that when the major shareholders of the Bank of Saipan
                3

                4
                    and MPLA and its attorney, Mr. Gregory, learned that he was transmitting his

                5   findings to the Superior Court, they began a conspiracy to “discredit the Office of the
                E
                    Attorney General, Mr. Fennell, and Presiding Judge Edward Manibusan of the
                7

                a   Commonwealth Superior Court.” Id, 742. This alleged conspiracy found its first

                9   public expression in the fhng of a lawsuit against plaintiff: The Bank OfSaipan v. M E
               10
                    Fennel4 e t ai,Commonwealth Superior Court C i d Action No, 04-049A (the “BoS
               11

               12
                    lawsuity7).

               13         When the BoS lawsuit was filed, plaintiff requested representation and
               14
                    indemnification from the Commonwealth under the Public Employees Legal Defense
               15
                    and Indemnification Act (PELDIA’), 7 CMC $2301 etseq. Id, 7 44.3 His request
               16

               17   was approved by the Presiding Judge, and then-Attorney General Pamela Brown
               18
                    assigned an Assistant Attorney General to represent    la in tiff.^   Id., 7 45. Crucially,
               19

               20           3

               21          Although neither party has raised the precise issue, the court questions whether
                    the drafters of PELDIA ever contemplated that it would be used in an internecine
               22
                    dispute such as t h s one; that is, the Office of Attorney General representing a
               23   “government employee” (the Superior Court had deemed plaintiff an employee of the
                    judiciary in his capacity as coun-appointed receiver) whde simultaneously
               24
                    representing a government agency that takes the opposite side of the dispute.
               25          4


               26
                          PELDIA was repealed and replaced by the Commonwealth Employees’
                    1,iability Reform and Tort Compensation Act of 2006 (“CELRTA”). Commonwealth
A 0 72
(Rev. 08/82)                                                   5
                        Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 8 of 19
                       Case 1:09-cv-O0019 Document 34  Filed 09/28/2009 Page 6 of 17




                1   plaintiff alleges that he “met and conferred on several occasions with Attorney
                2
                    General Brown and other assistant attorneys general and provided them with
                3

                4
                    confidential information relating to his defenses in the Lawsuit.” Id., 7 46.

                5         In August of 2005, MPLA, through its attorney, Gregory, was allowed by the
                6
                    Superior Court to intervene in the BoS lawsuit and MPLA then filed a separate
                7

                a   complaint against plaintiff Fennell and others. I d , 77 47-48.

                9         In January 2006, Benign0 Fitial was elected Governor of the Commonwealth
               10
                    of the Northern Mariana Islands (a position he still holds). Later that month he
               11

               12
                    nominated defendant Gregory as Attorney General. Id., fl52. As noted above, prior

               13   to his election Fitial was an executive of Tan Holdings Corporation, a major
               14
                    shareholder of the Bank of Saipan, and also served as the Bank’s Chairman of the
               15

               16
                    Hoard, President, and Chief Executive Officer. Attorney Gregory was attorney for

               17   both MPLA and Tan Holdmgs Corporation.
               18
                          Plaintiff‘s allegations indicate that the conspiracy to deny him his constitutional
               19
                    rights gained momentum, gwen the positions of public power both Fitial and Gregory
               20

               21   now held. He alleges a dramatic shift in the attitude and cooperation of the Attorney
               22
                    General’s Office, because Fitial had been implicated in plaintiffs investigation and
               23
                    because plaintiff felt that Gregory had a conact of interest in the Bank of %pan
               24

               25

               26
                    Pub. L. 15-22. The change does not affect the court’s analysis.
A 0 72
(Rev. 08/82)                                                    G
                             Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 9 of 19
                           Case 1:09-cv-O0019  Document 34  Filed 09/28/2009 Page 7 of 17




                1   matters when, during his private practice, he acted as attorney for both Tan Holdings
                i
                    and MPLA.’ Plaintiff had refused to deal with him at that time untd the conflict was

                4
                    resolved.

                E             The Office of the Attorney General, now led by Gregory, took over
                E
                    representation of MPLA, previously a semi-autonomous Commonwealth government
                ?

                a   agency (whch Gregory had represented as a private attorney in the BoS lawsuit), even

                9   though the Office was already representing plaintiff under PELDIA as a
               10   (6
                         government employee.” Plaintiff alleges that defendant Gregory, acting in concert
               11

               12
                    with other named defendants, has conspired to take numerous actions (and omit to

               13   timely take action when required), all to his detriment. Id., TI 55, a-i.
               14
                              In sum, as stated by plaintiff in h s August 27,2007, opposition to the motion
               15

               16
                    to dismiss: “Mr. Fennell is claiming that Defendants’ various actions and inaction

               17   were intentional and concerted efforts by Defendants (1) to deny Mr. Fennell
               18
                    independent, confhct-free counsel, (2) to frustrate and to hmder Mr. Fennell’s
               19
                    exercise of h s First Amendment rights to free speech and the right to access to the
               20

               21   courts, and (3) to retaliate against Mr. Fennell for hs actions in defending hunself in
               22
                    the Bank Lawsuit which also implicates Mr. Fennell’s First and Fourteenth
               23
                                           ~~




               24
                               5

               25          In February, 2006, MPLA was dissolved and its powers and duties transferred
               26
                    to the Commonwealth Department of Public Lands (“DPL”), an agency of the
                    executive branch on the CNMI government.
A 0 72
(Rev. 08/82)                                                     7
                              Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 10 of 19
                             Case 1:09-cv-O0019 Document 34  Filed 09/28/2009 Page 8 of 17




                    1   -2mendment rights to Free Speech and due process of law.”
                    2
                                                                 Analysis
                    1


                    4
                               As an initial matter, it is settled law that the Commonwealth of the Northern

                    5   Mariana Islands (“CNMI”), its governmental entities, and officials sued in their
                    f
                        official capacities are not “persons” withm the meaning of $ 1983 and cannot be held
                    7

                    E
                        liable under the statute. See Ngiraingm ZI.Sancheg 495 U S . 182, 191-192 (1990);

                    E   DeNzeua v. Reyes, 966 F.2d 480,483 (grhCir. 1992);Magana v. C N M I , 107 F.3d 1436,
               IC
                        1447 (7’” Cir. 1777). There is but one exception to the general rule that the CNMI, its
               11

               1;
                        governmental entities, and officials sued in their individual capacities are not

               1:       ‘‘persons’’ withln the meaning of 42 U.S.C. $1983: An official of a state or territory,
               1L
                        when sued for prospective injunctive relief in his or her official capacity, is considered
               1t
                        a “person” for $ 1983 purposes, Gziam Soc. of0bstetkcian.r & Gynecologists v. Ada, 962
               1E

               17       F.2d 1366, 1371 (7thCir.), cert. denied, 506 U.S. 1011 (1992). This is because “official-
               1E
                        capacity actions for prospective relief are not treated as actions against the State.”
               1:
                        Kentucky u. Graham, 473 U.S. 159, 167 n.14 (1985).
               2c

               21              Accordingly, all claims for damages against the named Commonwealth
               22
                        defendants in their official capacities are dismissed with prejudice.
               2:
                        Claim under 42 U.S.C. 5 1983
               24

               25       A.     First Amendment Violation
               2E
                               To prevail on a $ 1983 free speech claim, plaintiff must show that (1) he
A 0 72
(Rev. 08/82)                                                        8
                         Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 11 of 19
                        Case 1:09-cv-O0019 Document 34  Filed 09/28/2009 Page 9 of 17




                1   engaged in constitutionally-protected speech, (2) government officials took adverse
                2
                    action against h m as a result of his speech, and that (3) h s speech was a “substantial
                3

                4
                    and motivating factor” for the adverse action. See Board cfCoung Comm’n, Wabaunsee

                5   County, Kan.   2’.   Umbehr, 518 U.S. 668,675 (1996). The burden is on plaintiff to show
                6
                    he engaged in constitutionally-protected conduct. Mt. HeuMy Cig Sch. Dist. Bd. af
                7

                8
                    Educ. u. Doyle, 429 U.S. 274,287 (1977).

                9          It is also unlawful for state actors to hnder one’s right to access to the courts.
               10
                    See e.g. Boddie v. Connecticut, 401 U.S. 371 (1971); Soranno’s Gasco, Inc.   V.Morgan, 874
               11

               12
                    F.2d 1310, 1314 (gthCir. 1989) (right of access to the courts is subsumed under the

               13   First Amendment right to petition the government for redress of pevances).
               14
                           Plaintiff has alleged that defendant Gregory, as a state actor when acting as
               15
                    attorney for MPLA, a Commonwealth government agency, and continuing upon his
               16

               17   assumption o f the position of Attorney General, and the other named defendants,
               18
                    acting in their capacities as assistant attorneys general, conspired to deprive him of hls
               19
                    right to free speech. Here, the constitutionally-protected speech was plaintiff acting
               20

               21   as receiver for the Bank of Saipan and transmitting allegedly damaging information to
               22
                    the Superior Court, some of which was about persons who would later become
               23
                    Commonwealth elected and appointed officials. First, defendants allegedly tried to
               24

               25   silence plaintiff by initiating unfounded attacks against him in the Bank of Saipan
               26
                    lawsuit, by filing unmeritorious pleadings intended to delay the proceedings and
A 0 72
(Rev. 08182)                                                       9
                            Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 12 of 19
                          Case 1:09-cv-O0019 Document 34   Filed 09/28/2009 Page 10 of 17




                1   obfuscate the role of certain parties in the Bank of Saipan lawsuit. The second alleged
                1

                    deprivation of plaintiffs right to free speech was defendants’ dual failure to act as hrs

                4
                    counsel without a confict of interest and the delay in the certification that he was

                E
                    entitled to representation under CELRTA. Plaintiff alleges that he was effectively
                E
                    silenced by these two stratagems, thus violating h s right to access to the courts.
                I


                E
                             Accepting all these allegations as true, the court concludes that plaintiff has

                E   made out a colorable claim under 42 U.S.C. $1983 for violation of his First
               IC
                    Amendment right to free speech and unfettered access to the courts. Plaintiff has
               11

               12
                    alleged a conspiracy to fde a lawsuit against him to silence him and that the

               13   conspiracy continued when Gregory became Attorney General and refused to
               14
                    recognize a confict of interest or seek guidance from the court. Defendants’ motion
               15
                    to dismiss the First Amendment claim is denied.
               16

               17   €3.      Fourteenth Amendment Violation
               18
                             Section 1983 was designed in part to prevent the states from violating an
               19
                    individual’s right to due process, applicable to the states through the Fourteenth
               20

               21   Amendment. See e.g. Car9 9. P$htls, 435 U.S. 247 (1778). State law may, in lunited
               22
                    circumstances, create an entitlement interest-a     property interest-that   is protected
               23
                    by the Due Process Clause of the United States Constitution. See Town OfCaStle Rock v.
               24

               25   Gnnyale.r, 545 U S . 748, 768 (2005). “The Fourteenth Amendment’s procedural
               26
                    protection of property is a safeguard of the security of interests that a person has
A 0 72
(Rev. 08/82)                                                     10
                             Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 13 of 19
                           Case 1:09-cv-O007 9 Document 34  Filed 09/28/2009 Page 11 of 17




                1   already acquired in specific benefits.” Bd $Regents v. Roth, 408 U.S. 564,569-70
                2
                    (1972). “These interests-property         interests-   may take many forms.” Id. at 576.
                3

                4
                    “To have a property interest in a benefit, a person clearly must have more than an

                5   abstract need or desire for it. He must have more than a unilateral expectation of it.
                6
                    He must, instead, have a legtimate claim of entitlement to it.” Id. at 576.
                7

                0
                               As the court reads the allegations in the complaint, plaintiff claims that, as a

                9   ( 6
                          government employee,” he had a legitimate claim of entitlement to his “property
               10
                    interest” in the Commonwealth-created right to legal representation by the
               11

               12
                    Commonwealth (via PELDIA). Necessanly included in that right is that his legal

               13   representative be without a conflict of interest.
               14
                               Plaintiff alleges that defendant Gregory, while Attorney General of the
               15
                    Commonwealth, together with the other named assistant attorneys general, acted in
               16

               17   their official and personal capacities to deprive plaintiff of this Commonwealth law-
               18
                    created right. As noted earlier, the alleged conflict arose upon Gregory’s appointment
               19
                    as Attorney General, because he had represented government agency MPLA as a
               20

               21   private attorney when it intervened in the Bank of Saipan lawsuit and because the
               22
                    Office of Attorney General then substituted in for MFLA as attorney of record.
               23
                    C.         Due Process
               24

               25              Fourteenth Amendment violations actionable under 42 U.S.C.          1983 also
               26
                    include violations of substantive due process. In Daniels t? WzZliamr, 474 U.S. 327
A 0 72
(Rev. 08/82)                                                        11
                         Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 14 of 19
                       Case 1:09-cv-00019       Document 34      Filed 09/28/2009     Page 12 of 17




                1   (1986), the Supreme Court held that the Due Process Clause requires for its violation,
                2
                    whether in procedural or substantive due process cases, some abuse of governmental
                3

                4
                    power.

                5          The complaint alleges that defendant Gregory deprived plaintiff of a
                E
                    substantive due process right by failmg, as Attorney General, not only to acknowledge
                7

                8
                    the confltct, but to actively thwart plaintiffs abihty to defend against the Bank of

                9   Saipan lawsuit by using confidential information plaintiff had already shared with the
               10
                    attorneys at the Office of the Attorney General, by refusing to make a timely decision
               11

               12
                    on his request for non-conflicted counsel, and by continuing, as Attorney General,

               13   the spurious lawsuit Gregory had filed on behalf of MPLA as its attorney when he
               14
                    was in private practice.
               15

               16
                           Although the issue arises in an unusual and novel context, the court is

               17   persuaded that plaintiff has sufficiently alleged a violation of plaintiffs rights to free
               18
                    speech, equal protection of the laws, and substantive due process. Accepting
               19
                    plaintiffs allegations as true, he has alleged a conspiracy by defendants, one part of
               20

               21   which was to denigrate h m by f ~ n spurious
                                                        g        pleadings in a n attempt to effectively
               22
                    silence h m by diverting attention from the malfeasance of those involved with the
               23
                    Bank of Saipan and the other of which was to ignore a patent confhct of interest and
               24

               25   by refusing to timely respond to his requests that his conflict concerns be addressed.
               26
                    Accordingly, defendants' motion to dismiss plaintiffs $ 1983 claim is denied.
A 0 72
(Rev. 08/82)                                                    12
                         Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 15 of 19
                       Case 1:09-cv-00019  Document 34  Filed 09/28/2009 Page 13 of 17




                           Plaintiff also makes a claim for “[a] temporary and permanent injunction

                    against the Office of the Attorney General from representing parties in or otherwise

                1
                    participating in the Lawsuit.” Such a claim is permissible under 42 U.S.C. $ 1983 and,
                I
                    accepting the allegations of the complaint as true, defendants may have a non-curable
                t
                    confhct of interest.
                I




                I
                    The 42 U.S.C. 5 1985(2) and (3) Constiracy Claims

                <          An element of conspiracy claims under $1985 is that the defendants were
               I(
                    motivated by “some racial, or perhaps otherwise class-based invi&ously
               1’

               1;
                    discriminatory animus behind the conspirators’ action. The conspiracy. . .must aim at

               1:   a deprivation of the equal enjoyment of rights secured by the law to all.” Gn@n 9.
               14
                    Breckenridge, 403 US.88, 103 (1971). Plaintiff has failed to plead that he was a
               15
                    member of such a class. For that reason, the $ 1985(2) and (3) claims are &smissed.
               1E

               17   The 42 U.S.C. C; 1986 Claim
               la
                          If no valid claim has been pleaded under $1985, a claim under $1986 will not
               19
                    lie. See McCalden v. CalijrniaLzbraryAss’fi., 955 F.2d 1214, 1223 (9* Cir. 1990).
               20

               21   Accordingly, plaintiffs 42 U.S.C. $ 1986 claim for relief is dismissed.
               22

               23

               24

               25

               26


A 0 72
(Rev. 08/82)                                                   13
                         Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 16 of 19
                      Case 1:09-cv-O0019           Document 34   Filed 09/28/2009     Page 14 of 17




                1                                  Absolute and Qualified Immunity
                2
                           Finally, the court is also confronted with the seemingly mutually-exclusive
                3

                4
                    commands that on a motion to dismiss all facts alleged in the complaint are assumed

                5   to be true and that absolute and qualified immunity are to be determined as early in
                E
                    the litlgation as practical.
                7

                a          The court can say at this juncture that Commonwealth defendant attorneys

                9   general could not be entitled to absolute immunity in the $1983 claim. Only in
               10
                    “initiating a prosecution and in presenting the State’s case” is a prosecutor absolutely
               11

               12
                    immune. Irnbler v. Pachtman, 424 US.409,418-424,96 S.Ct. 984 (1976). Because this

               13   lawsuit does not involve a criminal prosecution, none of the Attorney General’s
               14
                    Office defendants would be entitled to absolute immunity.
               15
                           “[GIovernment officials performing discretionary functions generally are
               1E

               17   shelded from liabihty for c i d damages insofar as their conduct does not violate
               18
                    clearly established statutory or constitutional rights of whch a reasonable person
               19
                    would have known.” Harlow v. Fztgedd, 457 U.S. 800, 818 (1982). The court must
               20

               21   first determine whether the plaintiff has alleged a constitutional violation. Siegert u.
               22
                    Gilley, 500 U.S. 226,232 (1991). If a constitutional violation has been properly
               23
                    alleged, then the court must determine whether the conduct violated “clearly
               24

               25   established statutory or constitutional rights of which a reasonable person would ha re
               26
                    known.” Id A right is clearly established if “[tlhe contours of the right [are]
A 0 72
(Rev. 08/82)                                                     14
                         Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 17 of 19
                       Case 1 :09-cv-O0019 Document 34  Filed 09/28/2009 Page 15 of 17




                1   sufficiently clear that a reasonable official would understand that what he is doing
                i
                    violates that right. Ths is not to say that an official action is protected by qualified
                1


                4
                    immunity unless the very action in question has previously been held unlawhl,

                E
                    . . . but it is to say that in light of pre-existing due process law the unlawfulness must
                E
                    be apparent.” Anderson v. Creighton, 483 US.635, 640 (1987).
                7

                e          In Anderson, the Court explained that although the “right to due process” is

                9   “clearly established,” the contours of that right may not be sufficiently clear
               10
                    depending on the circumstances of the violation. Id. at 639. Instead, a court would
               11

               12
                    need to analyze the objective circumstances of the violation in light of pre-existing

               13   law to determine whether the official should have known that the action was
               14
                    unconstitutional. Id. In sum, a public official has qualified immunity unless the law is
               15
                    clear on its face or a lack of clarity has been elucidated in the case law.
               16

               17          As pleaded, the $ 1983 claim for relief indicates that, if proven, attorney
               18
                    defendants violated, if in a new and novel way, the clearly established constitutional
               19
                    rights of freedom of speech, substantive due process, and equal protection of the laws
               20

               21   and they would thus not be entitled to qualified immunity.
               22

               23

               24

               25

               26


A 0 72
(Rev. 08/82)                                                    15
                         Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 18 of 19
                       Case 1:09-cv-00019      Document 34       Filed 09/28/2009   Page 16 of 17




                1          In conclusion, defendants’ motion to dismiss for failure to state a claim is
                1

                    granted in part and denied in part, as follows:

                1          1. X U claims for damages against the named Commonwealth defendants in

                !   their official capacities are dismissed with prejudice;
                z
                           2. The motion to dismiss the claims for relief under 42 U.S.C. $ 1983 for
                I


                E
                    violation of plaintiffs rights to free speech, substantive due process, and equal

                E   protection of the laws is denied;
               1C
                           3. The motion to dismiss the prayer for injunctive relief to prevent the
               11

               12
                    Commonwealth Office of Attorney General from any further representation of any

               13   party in the Superior Court proceedings is denied, subject to being renewed;
               14
                           4. Defendants’ motion to dismiss the claims under 42 U.S.C. $ 1985(2) and (3)
               15
                    is granted;
               16

               17          5. Defendants’ motion to dismiss the claim under 42 U.S.C. 5 1986 is granted;
               18
                          6. Defendants are not entitled to absolute immunity; and,
               19
                          7. Defendants are not entitled to qualified immunity based upon the
               20

               21   information presently before the court, but may renew their motion after discovery.
               22
                          Plaintiff shall have fourteen calendar days from the day after entry of this order
               23
                    in whch to file an amended complaint, should he so choose. If no amended
               24

               25

               26


A 0 72
(Rev. 08/82)                                                   16
                          Case 1:09-cv-00019 Document 36 Filed 10/09/09 Page 19 of 19
                       Case 1:09-cv-00019      Document 34      Filed 09/28/2009    Page 17 of 17




               1    complaint is filed, defendants shall have an additional fourteen days in which to file
               i
                    an answer or other responsive pleading.

               I
                          DATED this 28th day of September, 2009.
               1




               I




               I

                !

               11

               1

               1

               1

               1

               1

               1

               1

               1

               1

               2

               2

               2

               i

               2

               2

               2

A 0 72
(Rev. 08182)                                                    17
